     Case 3:18-cr-04683-GPC Document 378 Filed 04/04/22 PageID.5411 Page 1 of 2



   RANDY S. GROSSMAN
 1 United States Attorney
   MELANIE K. PIERSON
 2 SABRINA L. FEVE
 3 Assistant U.S. Attorneys
   California Bar No. 112520/226590
 4 Office of the U.S. Attorney
   880 Front Street, Room 6293
 5 San Diego, CA 92101
   Tel: (619) 546-7976
 6 Fax: (619) 546-0631
   Email:Melanie.Pierson@usdoj.gov/Sabrina.Feve@usdoj.gov
 7
 8 CANDINA S. HEATH
   Senior Counsel
 9 Texas Bar No. 09347450
   Computer Crime and Intellectual Property Section
10 U.S. Department of Justice
   Washington, D.C. 20005
11 Tel: (202) 307-1049
   Email: Candina.Heath2@usdoj.gov
12
   Attorneys for Plaintiff
13 United States of America
14
                                UNITED STATES DISTRICT COURT
15
                           SOUTHERN DISTRICT OF CALIFORNIA
16
       UNITED STATES OF AMERICA,                   Case No.: 18cr4683-GPC
17
                   Plaintiff,                      UNITED STATES’ MOTION FOR
18                                                 ORDER SHORTENING TIME
             v.                                    FOR FILING SUPPLEMENTAL
19                                                 LEGAL AUTHORITY IN
       JACOB BYCHAK (1),                           SUPPORT OF MOTION IN
20     MARK MANOOGIAN (2),                         LIMINE TO EXCLUDE
                                                   EVIDENCE OF IMMIGRATION
21     ABDUL MOHAMMED QAYYUM (3), and              STATUS
       PETR PACAS (4),
22
                   Defendants.
23
24
25
26          COMES NOW the plaintiff, United States of America, by and through its counsel,
27 Randy S. Grossman, United States Attorney, and Assistant United States Attorneys
28 Melanie K. Pierson, Sabrina L. Fève, and Computer Crime and Intellectual Property
     Case 3:18-cr-04683-GPC Document 378 Filed 04/04/22 PageID.5412 Page 2 of 2




 1 Section Senior Counsel Candy Heath, and hereby files its Motion for Order Shortening
 2 Time for Filing Its Supplemental Legal Authority in Support of its Motion in Limine to
 3 Exclude Evidence of Immigration Status.
 4            Motions in limine were due to be filed in this case on March 24, 2022. On that date,
 5 the United States filed, among others, a motion to exclude evidence of the immigration
 6 status of the defendants. On March 28, 2022, four days after motions were filed, the Ninth
 7 Circuit issued its opinion in United States v. Kvashuk, No. 20-30251. _ F.4th _ (9th
 8 Cir.2022), which directly addressed the issue raised in the Government’s motion in limine
 9 regarding the exclusion of evidence of the immigration status. The United States requests
10 leave of the court to now file a three-page document describing the facts and holding of
11 case for the consideration of the court.
12
              DATED: April 4, 2022
13
14                                                Respectfully submitted,
15
                                                  RANDY S. GROSSMAN
16                                                United States Attorney
17
                                                  /s/Melanie K. Pierson
18                                                Assistant United States Attorney
19
                                                  /s/Sabrina L. Fève
20                                                Assistant United States Attorney
21
                                                  /s/Candy Heath
22                                                Senior Counsel
23                                                Computer Crime and Intellectual Property Section
                                                  Department of Justice, Criminal Division
24
25
26
27
28
      Motion for Order Shortening Time to File         2                    18cr4683-GPC
      Government’s Supplemental Legal Authority
